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 6
                       UNITED STATES DISTRICT COURT
 7
                              DISTRICT OF NEVADA
 8

 9   UNITED STATES OF AMERICA,         )
                                       )    2:12-cr-00004-JCM-GWF
10             Plaintiff,              )
                                       )    UNITED STATES’ MOTION
11             v.                      )    FOR ALTERNATIVE VICTIM
                                       )    NOTIFICATION PROCEDURES
12   DEFENDANT [1], et al.,            )
                                       )
13            Defendants.              )

14

15        COMES NOW THE UNITED STATES OF AMERICA, by and through its

16   undersigned    attorneys,   and   respectfully   moves    this   Court    for

17   authorization to employ alternate victim notification procedures

18   pursuant to Title 18, United States Code, Section 3771(d)(2). More

19   particularly, the victims in this case number, along with the

20   companion cases 2:12-CR-00083-KJD-GWF and 2:12-CR-00084-JCM-GWF,

21   number in the millions making it impracticable to accord each

22   victim individual notice and other rights described in subsection

23   3771(a). The UNITED STATES therefore requests authorization to

24   notify the victims by internet publication in a manner described

25   below.

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 1                                    I. INTRODUCTION

 2        During the last four (4) years, United States law enforcement

 3   authorities have been conducting an investigation of the Carder.su

 4   organization,      a    highly    sophisticated       international       cybercrime

 5   enterprise.    The      investigation         has   shown    that   the   Carder.su

 6   organization engages in large scale trafficking of compromised

 7   credit card account data and counterfeit instruments, such as

 8   counterfeit identification documents and counterfeit credit cards,

 9   as well as money laundering and various types of computer crimes,

10   including intrusion and hacking.

11        Since    on       or    about    November      22,     2005,   the   Carder.su

12   organization, including its leadership, members, and associates,

13   have constituted a Racketeering “enterprise,” as defined by Title

14   18, United States Code, Section 1961(4), that is, a group of

15   individuals associated in fact, although not a legal entity.                    The

16   enterprise    is   an       ongoing   criminal      organization    whose   members

17   function as a continuing unit for a common purpose of achieving the

18   objectives of the enterprise. The Carder.su organization's members

19   engage in acts of identity theft and financial fraud, including,

20   but not limited to, acts involving trafficking in stolen means of

21   identification; trafficking in, production and use of counterfeit

22   identification         documents;      identity       theft;    trafficking     in,

23   production and use of unauthorized and counterfeit access devices;

24   and bank fraud;        and whose members interfere with interstate and

25   foreign commerce through acts of identity theft and financial

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 1   fraud.     Members and associates of the Carder.su organization

 2   operate principally in Las Vegas, Nevada, and elsewhere.

 3         The Carder.su organization operates a “virtual clubhouse,”

 4   located at an internet web portal called a forum. This forum is

 5   where the worldwide membership congregates to purchase illicitly

 6   obtained data, share knowledge and Modus Operandi of various fraud

 7   schemes in an effort to further the criminal enterprise, and

 8   conspires to maximize the amount of illegal proceeds obtained.

 9   Membership in the organization is not available to the general

10   public.    Instead, a second forum has also been created to act as a

11   feeder mechanism to vet incoming new members to the organization.

12   The   Carder.su   organization’s   forum     operates   solely   for   its

13   membership’s unlawful purposes.         The forum itself is operated in

14   attempted secrecy through the use of numerous security features,

15   such as an in-depth review process to gain membership, multiple

16   vetted member sponsorship, and increased password security. Within

17   the organization, experienced and vetted members collaborate and

18   share services to support the illegal criminal hackers engaging in

19   computer intrusion, identify theft, access device fraud, and other

20   fraud activities.    As of March 7, 2012, the Carder.su organization

21   boasted a membership of seven thousand eight hundred and eighty

22   (7,880).

23         During the course of the investigation, law enforcement agents

24   have determined that millions of individual persons, as well as a

25   myriad of financial institutions, which are located in both the

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 1   United States and overseas, have been victims of the Carder.su

 2   organization’s criminal activities.           For example, access device

 3   fraud is one of the common offenses routinely perpetrated by

 4   members of the Carder.su organization. In the spring of 2011, law

 5   enforcement agents accessed a website, which they knew had been

 6   established   by   Defendant      [14],   a   member    of    the   Carder.su

 7   organization, for the sole purpose of selling stolen and otherwise

 8   compromised credit card account data in furtherance of the criminal

 9   enterprise. Defendant [14] advertised on the organization’s forum

10   that the member was a vendor, who sold compromised credit cards,

11   and further provided a website address in his advertisement where

12   other members could purchase the compromised account information.

13   When law enforcement agents logged in and browsed Defendant [14]’s

14   web site, they were able to select one hundred (100) compromised

15   credit card account numbers and add it to the website’s shopping

16   cart.   Law enforcement agents then transferred approximately seven

17   hundred dollars ($700) to Defendant [14]. When the money transfer

18   was   completed,   the   agents    were   then   able    to    download   the

19   compromised credit card data which they had purchased.

20         Moreover, while law enforcement agents were monitoring this

21   same website, Defendant [14] updated his advertisement on the

22   organization’s forum to reflect that he was offering one million

23   (1,000,000) stolen credit card accounts for sale. Analysis of

24   subsequent sales conducted from Defendant [14]’s site from April

25   12, 2011, to April 22, 2011, showed the sale of fifty four thousand

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 1   nine hundred seventy four (54,974)of those stolen credit card

 2   account numbers, with each individual account number being sold for

 3   approximately twenty dollars ($20).        Accordingly, the Carder.su

 4   organization profited in excess of one million dollars ($1,000,000)

 5   during that ten day period from victimizing thousands of individual

 6   account holders, as well as the numerous financial institutions

 7   which issued their credit card accounts.

 8        A second illustration showing the voluminous number of victims

 9   in this case can be found through law enforcement’s April 2011

10   forensic analysis of the recovered images from computer servers

11   under the control Defendant [19]. This analysis revealed the

12   presence of approximately sixty three thousand nine hundred and one

13   (63,901) compromised credit card account numbers.       Law enforcement

14   agents initially forwarded the list of compromised account numbers

15   to Chase, Discover, and American Express to determine whether these

16   three   financial   institutions   had   sustained    any   dollar   loss

17   associated with fraudulent use of these compromised accounts.

18        Chase advised that approximately six thousand five hundred

19   twenty seven (6,527) of the accounts were issued by Chase. Chase

20   stated they had suffered a dollar loss of approximately seven

21   hundred eighty five thousand seven hundred twenty two dollars

22   ($785,722)arising from fraud on those accounts. Discover advised

23   that approximately two thousand seven hundred ninety four (2,794)

24   of the accounts had been issued by them. Discover stated that they

25   had suffered a dollar loss of approximately five hundred forty nine

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 1   thousand six hundred seventy two dollars ($549,672) from fraud on

 2   those accounts. American Express advised that a total of three

 3   thousand four hundred twenty four (3,424) accounts had been issued

 4   by them. American Express stated that they had suffered a dollar

 5   loss of approximately seven hundred twenty eight thousand six

 6   hundred    eighty    dollars     ($728,680)      arising   from   fraud   on    the

 7   accounts.

 8        Based on the information provided by Chase, Discover and

 9   American Express, even though their accounts only comprise twelve

10   thousand seven hundred forty five (12,745) of the sixty three

11   thousand nine hundred and one (63,901) total accounts, the dollar

12   loss sustained just among those three financial institutions is

13   more than two Million dollars. Law enforcement continues to work to

14   identify additional victims, that is, to ascertain which financial

15   institutions issued the remainder of the sixty three thousand nine

16   hundred and one (63,901) accounts.

17        Finally,       to   close   the     loop,   members    of    the   Carder.su

18   organization who purchased stolen credit card information from

19   their co-defendants also trafficked in, manufactured, and used

20   false identity documents to assume the victim account holders’

21   identities. Using these false identifications, usually counterfeit

22   drivers’    licenses      and    other    counterfeit      secondary    means    of

23   identification, Carder.su members used the stolen credit card

24   account    information     to    unlawfully      obtain    merchandise,    goods,

25   services, and money for their own personal financial gain and to

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 1   benefit the Carder.su organization. The financial loss associated

 2   with fraudulent activities perpetrated by Carder.su members for

 3   each of those credit card accounts would have been limited only by

 4   the available account balance limits set by the victim financial

 5   institutions that issued the cards.       Even if those limits were set

 6   at a low amount per credit card account, i.e., two hundred dollars

 7   ($200), the loss to the victims - and the financial gain to the

 8   criminal enterprise, could have easily been more than twenty

 9   million dollars ($20,000,000).

10        Given vastness of the Carder.su organization, the pattern of

11   prolific     criminal    activity   committed   by   its   international

12   membership in furtherance of the enterprise, and the fact that the

13   organization has been engaging in these offenses since on or about

14   November 22, 2005, the government submits that the victims in this

15   case, along with the companion cases 2:12-CR-00083-KJD-GWF and

16   2:12-CR-00084-JCM-GWF, number in the millions thereby making it

17   impracticable to accord each victim individual notice and other

18   rights     described    in   subsection   3771(a).    Accordingly,    the

19   government seeks permission to engage in the alternative victim

20   notification procedures discussed below.

21                    II. VICTIM NOTIFICATION REQUIREMENTS

22        On October 30, 2004, the President signed into law the Justice

23   for All Act of 2004. Title I of the Act enumerates specific rights

24   of crime victims in federal criminal cases, codified at 18U.S.C. §

25   3771(a). These include “[t]he right to reasonable, accurate, and

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 1   timely notice of any public court proceeding ... involving the

 2   crime or of any release or escape of the accused,” and“[t]he right

 3   to be reasonably heard at any public proceeding in the district

 4   court   involving    release,      plea,    sentencing,   or   any    parole

 5   proceeding.” 18 U.S.C.§3771(a)(2),(a)(4).

 6         The Act requires“[o]fficers and employees of the Department of

 7   Justice and other departments and agencies of the United States

 8   engaged in the detection, investigation and prosecution of crime

 9   [to] make their best efforts to see that crime victims are notified

10   of, and accorded, the rights described in subsection[3771](a),” 18

11   U.S.C. § 3771(c)(1), and it instructs the Court to “ensure that the

12   crime victim is afforded” those rights. 18 U.S.C. § 3771(b). A

13   “crime victim” under the Act is defined as “a person directly and

14   proximately harmed” as a result of the commission of a Federal

15   offense. 18U.S.C. § 3771(e).

16         In routine cases involving a single or limited number of

17   victims, the victim notification burdens imposed by the Act upon

18   the government will be substantial. In other cases, involving tens,

19   hundreds, or even thousands of potential victims, the burdens

20   imposed by the Act would be simply overwhelming. In recognition of

21   this, the Act grants the Court authority to fashion alternative

22   notification procedures when the Court finds that implementation of

23   the   prescribed    requirements    would    be   impracticable.     The   Act

24   provides:

25               In a case where the court finds that the

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 1              number   of   crime   victims   makes   it
                impracticable to accord all of the crime
 2              victims the rights described in subsection
                [3771](a), the court shall fashion a
 3              reasonable procedure to give effect to
                this   chapter   that  does   not   unduly
 4              complicate or prolong the proceedings.

 5
          18 U.S.C. § 3771(d)(2). The Act places no limitations on the
 6
     alternative procedures which a Court may fashion other than that
 7
     the procedures be reasonable to effectuate the Act and that they
 8
     not unduly complicate or prolong the proceedings. Id. In this case,
 9
     on or about January 10, 2012, thirty nine (39) members of the
10
     Carder.su organization were indicted in case number 02:12-CR-004-
11
     JCM-GWF, for violation of Title 18, United States Code, Sections
12
     1962- Racketeering (RICO) and RICO Conspiracy, 1028- Fraud in
13
     Connection with Identification Documents and 1029 - Fraud in
14
     Connection with Access Devices.                 On March 13, 2012, four (4)
15
     additional members and seven (7) associate members of the Carder.su
16
     organization were indicted in case numbers 02:12-CR-083-KJD-GWF and
17
     02:12-CR-084-JCM-GWF for violation of Title 18, United States Code,
18
     Sections   371-Conspiracy,       1028       -    Fraud   in   Connection   with
19
     Identification Documents, and 1029 - Fraud in Connection with
20
     Access Devices. These individuals span all levels of the Carder.su
21
     organization   including   the    uppermost        leadership.   The   offenses
22
     described in these three Indictments arose out of a sophisticated
23
     and massive criminal organization whose members engage in acts of
24
     identity theft and financial fraud, including, but not limited to,
25

26                                           9
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 1   acts involving trafficking in stolen means of identification;

 2   trafficking in, production and use of counterfeit identification

 3   documents; identity theft; trafficking in, production and use of

 4   unauthorized and counterfeit access devices; and bank fraud in

 5   furtherance of the criminal enterprise. As described above, the

 6   number of persons whose personal and financial identifiers were

 7   compromised in this case—each a potential victim—along with the

 8   myriad of financial institutions, nationally and internationally,

 9   which have sustained financial loss arising from the organization’s

10   criminal    conduct,   makes   individualized         communication    with and

11   notification of each victim impracticable.

12        Neither the government nor the Court has the resources to

13   accord each of the victims in this case the rights prescribed in

14   subsection 3771(a) on an individual basis.

15   III. UNITED STATES’ PROPOSED ALTERNATIVE NOTIFICATION PROCEDURES

16        The scope and size of this criminal enterprise is, in many

17   respects,     a   testament      to     modern        communications     and—in

18   particular—the world wide web. Also, law enforcement agents have

19   determined    that     the   internet      is   the    method   of     preferred

20   communication among the fraud investigators employed by the victim

21   financial institutions. Accordingly, the UNITED STATES requests

22   authorization from the Court to communicate with and provide

23   notification to the pool of potential victims through this medium.

24   More specifically, the International Association of Financial Crime

25   Investigators (IAFCI)has agreed to cooperate in this matter by

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 1   posting, for a period of at least three months from the date of the

 2   Court’s order, on IAFCI’s own website a notice providing victims

 3   information and links to the U.S. Attorney’s Office public website.

 4   In additional, the primary investigative agencies, the United

 5   States Secret Service (USSS) and Homeland Security Investigations

 6   (HSI),   have   each    agreed    to   place   a   similar   notice     on   their

 7   agencies’ public websites providing similar information. In turn,

 8   the UNITED STATES proposes on the U.S. Attorney’s Office public

 9   website to post for the duration of each of the three companion

10   cases, 2:12-CR-004; 2:12-CR-083; and 2:12-CR-084; the Indictments

11   and significant pleadings, forms for communication and conferral,

12   and notice of events and hearings. The proposed notice will provide

13   the following information regarding this case:

14        1. The names of the defendants, the case number and charges;

15        2. All of the victim rights codified at 18 U.S.C. § 3771(a);

16        3. The identity of the prosecutors;

17        4. The identity and contact telephone numbers of Victim
             Witness Coordinator;
18

19        In addition, the UNITED STATES proposes to post a web-based

20   victim impact questionnaire. This questionnaire will allow for the

21   orderly collection of certain victim information, help authenticate

22   those who are actual victims and give the millions of victims an

23   opportunity to describe their plight to government attorneys.

24                                    IV. CONCLUSION

25        The   number      of   potential    victims     in   this   case    renders

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 1   individual notification to each impracticable. In such cases, the

 2   Justice for All Act authorizes the Court to fashion a reasonable

 3   alternate notification procedure to effect the aims of the Act

 4   without unduly complicating or prolonging the proceedings. The

 5   government’s proposed notification procedures accomplish these

 6   goals. For the reasons set forth above, the government respectfully

 7   requests   that   this   Court   grant   this   motion   and   sign   the

 8   accompanying proposed Order.

 9
     RESPECTFULLY SUBMITTED this 13TH day of APRIL 2012.
10

11                                     DANIEL BOGDEN
                                       United States Attorney
12                                     /s/
                                       Kimberly M. Frayn
13                                     Andrew Duncan
                                       Assistant United States Attorneys
14                                     District of Nevada
                                       333 Las Vegas Blvd. S, Ste 5000
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 1

 2
                       UNITED STATES DISTRICT COURT
 3
                              DISTRICT OF NEVADA
 4

 5   UNITED STATES OF AMERICA,        )
                                      )         2:12-cr-00004-JCM-GWF
 6               Plaintiff,           )
                                      )         O R D E R
 7               v.                   )
                                      )
 8   DEFENDANT [1], et al.,           )
                                      )
 9              Defendants.           )

10
          Before the Court is the government’s motion for permission
11
     to engage in alternative victim notification procedures.           The
12
     Court, having reviewed the motion and found good cause for
13
     proceeding under alternative notification procedures, opines as
14
     follows:
15
          IT IS THEREFORE ORDERED that the government’s motion is
16
     GRANTED. The UNITED STATES shall          communicate with and provide
17
     notification to the pool of potential victims through the
18
     internet.
19
          It IS FURTHER ORDERED that for a period of not less than
20
     three (3) months, the International Association of Financial
21
     Crime Investigators (IAFCI)shall post on IAFCI’s own website a
22
     notice providing victims with information and links to the U.S.
23
     Attorney’s Office public website.
24
          IT IS FURTHER ORDERED that, for a period of not less than
25

26                                        13
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 1   three (3) months, the United States Secret Service (USSS) and

 2   Homeland Security Investigations (HSI) shall each place a similar

 3   notice on their agencies’ public websites providing victims with

 4   information and links to the U.S. Attorney’s Office public

 5   website.

 6        IT IS FURTHER ORDERED that for each of the three companion

 7   cases, 2:12-CR-004; 2:12-CR-083; and 2:12-CR-084; the UNITED

 8   STATES shall post on the U.S. Attorney’s Office public website

 9   the Indictments and significant pleadings in each case, forms for

10   communication and conferral, and notice of events and hearings.

11   The notice shall provide the following information regarding this

12   case:

13        1.   The names of the defendants, the case number and
          charges;
14
          2.   All of the victim rights codified at 18 U.S.C. §
15        3771(a);

16        3.    The identity of the prosecutors;

17        4.    The identity and contact telephone numbers of Victim
                Witness Coordinator; and
18
          5.    A web-based victim impact questionnaire. This
19              questionnaire will allow for the orderly collection of
                certain victim information, help authenticate those who
20              are actual victims and give the millions of victims an
                opportunity to describe their plight to government
21              attorneys.

22
                 16th
     Dated this ______ day of April 2012.
23

24                   ______________________________________________
                     Honorable Magistrate Judge George W. Foley Jr.
25

26                                      14
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 1

 2                                    CERTIFICATE OF SERVICE
            I, Kimberly M. Frayn, hereby certify that I am an employee of the Organized Crime Strike
 3   Force, United States Department of Justice, and that on this day I served, by way of the internet
     via email and by facsimile, a copy of the following:
 4
                            UNITED STATES’ MOTION FOR
 5                  ALTERNATIVE VICTIM NOTIFICATION PROCEDURES

 6   upon the defense counsel.

 7   DATED: APRIL 13th , 2012          ____/s/___________________________
                                  KIMBERLY M. FRAYN
 8

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